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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION



UNITED STATES OF AMERICA,

                            Plaintiff,                     Case No. 07 CR 410

              v.                                     Judge Harry D. Leinenweber

CHRISTOPHER DUKES,

                            Defendant.



                                           ORDER
        Defendant        Christopher       Dukes’    Motion       for    a    Reduction       of
Sentence Under 18 U.S.C. § 3582(c)(2) [ECF No. 1292] is denied.

                                     STATEMENT
        Before the Court is Defendant Christopher Dukes’ Motion for
a    Reduction      of    Sentence     Under    18     U.S.C.      §     3582(c)(2)         [ECF
No. 1292].          Dukes    argues    that     he    is    entitled          to    a    reduced
sentence     in     light    of    Amendment    782,       in    which       the    Sentencing
Commission         retroactively       reduced       the        guideline          ranges    for
quantity-based drug offenses.                  For the reasons stated herein,
Defendant’s Motion is denied.
        In October of 2009, Dukes plead guilty to his role in a
drug conspiracy and was later sentenced in July 2012.                                    At his
sentencing hearing, the Court assigned a base offense level of
34, which was then decreased by five levels, resulting in a
combined offense level of 29.                  Dukes’ prior conduct placed him
in Criminal History Category I, which resulted in a guideline
sentencing        range     of    87-108    months    imprisonment.                The    Court,
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however,     ultimately    departed     from       the    guideline    range      and
sentenced Dukes to 70 months’ imprisonment.
     Amendment 782 is one of the many recent amendments to the
Sentencing Guidelines and became effective on November 1, 2014.
The Amendment lowered the Drug Quantity Table for § 2D1.1 of the
Sentencing    Guidelines    by    two   levels.          This   decrease     applies
retroactively, thus defendants who were sentenced under § 2D1.1
before November 1, 2014 may nonetheless be eligible for sentence
reductions.     U.S.S.G. § 1B1.10(d), (e)(1); see, United States v.
Hayden, 775 F.3d 847, 850 (7th Cir. 2014).
     The Government acknowledges that Amendment 782 applies to
Dukes, and that if sentenced today his guideline range would be
70-87 months.        But the Commission has clearly stated that a
district     court   may    not    “reduce         the   defendant’s       term    of
imprisonment under [§ 3582] and this policy statement to a term
that is less than the minimum of the amended guideline range.”
U.S.S.G. § 1B1.10(b)(2); see also, Dillon v. United States, 560
U.S. 817, 826 (2010) (stating that Congress gave the Sentencing
Commission the exclusive authority to determine by how much a
previously imposed sentence may be reduced).                    Put simply, the
Court cannot adjust Dukes’ sentence to anything lower than the
amended    minimum    guideline     range      —    70    months.      The     Court
originally sentenced Dukes to 70 months — a term equal to the
amended minimum guideline sentence.                Therefore, the Court cannot
reduce Dukes’ sentence any further.
     For these reasons, the Court denies Dukes’ Motion for a
Reduction of Sentence.




                                             Harry D. Leinenweber, Judge
                                             United States District Court
Dated: 11/5/2015
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